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                                Exhibit A
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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                    Philadelphia Division

IN RE:

HELEN K. GAY                                             Chapter 13
                                                         Case No. 23-12178-PMM
              Debtor

TEACHERS FEDERAL CREDIT UNION                            Ref. Dkt. Nos. 44 and 46

              Movant

v.

HELEN K. GAY
         (Debtor)

KENNETH E. WEST
        (Trustee)

              Respondents

               CONSENT ORDER / STIPULATION AGREEMENT SETTLING
                 MOTION FOR RELIEF FROM THE AUTOMATIC STAY

        AND NOW, upon the Motion of Teachers Federal Credit Union (“Movant”), through its counsel,
Orlans PC, for Relief from the Automatic Stay pursuant to Bankruptcy Code § 362 as to certain property,
2022 Kia Telluride (the “Property”), it is hereby agreed as follows:

         Helen K. Gay (“Debtor”) acknowledges that the post-petition arrearage is subsequent to
         10/2023 as follows:

     Payments (03/08/2024 @ $519.90 each)                                                          $519.90

     Payments (04/08/2024 @ $694.80 each)                                                          $694.80

     Attorney’s fees/costs                                                                        $1,249.00
     Less Suspense                                                                                   $0.00

     Total Post-Petition Arrears (“Arrears”)                                                      $2,463.70
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       1.            Debtor shall cure the Arrears as set forth above by paying One-Fifth
            (1/5) of the Arrears per month ($410.62/month) for the next five (5) months and
            the last payment of the Arrears will be $410,58, with said payments to begin on
            May 15, 2024, and the regularly monthly payment of $694.78, to resume on
            May 8, 2024. In the event the regular monthly payment changes for any reason,
            then the amount due pursuant to this paragraph shall be adjusted accordingly.
            Thereafter, Debtor agrees to continue making the regular monthly mortgage
            payments.

       2.            Debtor shall send all payments due directly to Creditor at the address
            below:
                                        Greenspoon Marder LLP
                                       100 W. Cypress Creek Rd.
                                               Suite 700
                                       Fort Lauderdale, FL 33309

       3.           In the event Debtor fails to make any of the payments set forth above on
            or before their due dates, Movant may give Debtor and Debtor’s counsel notice
            of the default. If Debtor does not cure the default within fifteen (15) days of the
            notice, upon Certification of Default to the Court, and request for Order, with a
            copy to Debtor and Debtor’s counsel, Movant shall be entitled to the entry of an
            Order granting it relief from the automatic stay.

       4.          The failure by the Movant, at any time, to file a Certification of Default
            upon default by the Debtor, shall not act as a waiver of any of Movant’s rights
            hereunder.

       5.           Upon issuance of the aforesaid Order, the parties hereto further agree
            that Movant may proceed in state court to exercise all rights and remedies
            available to it as a mortgagee and creditor under state and federal law including,
            but not limited to, the initiation of and continuation of repossession/replevin
            and/or collections.

       6.           In the event Debtor converts this case to any other chapter of Title 11 of
            the U.S. Bankruptcy Code then Debtor shall pay all pre-petition arrears and
            post-petition arrears within 10 days from the date of conversion. If Debtor fails
            to make payments in accordance with this paragraph then the Movant, through
            Counsel, may file a Certification of Default to the Court, setting forth said
            failure and Movant shall be granted relief from the automatic stay.

       7.          It is further agreed that, in the event the stay is lifted, the 14-day stay
            provided by Rule 4001(a)(3) is hereby waived.

       8.          The undersigned parties request that the Court enter an Order approving
            this Consent Order/Stipulation and the terms therein.
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Seen and agreed by the parties on the date set forth below:



Date: _May 21, 2024_______

Approved as to form and content:

/s/ LeeAne O. Huggins
Kenneth E. West                                  /s/ Brad J. Sadek
Chapter 13 Trustee                               Brad J. Sadek
P.O. Box 40837                                   Attorneys for Debtor
Philadelphia, PA 19107                           1500 JFK Boulevard, Ste 220
                                                 Philadelphia, PA 19102
                                                 Email: brad@sadeklaw.com

Date: May 21, 2024
                                                     Respectfully Submitted,

                                                     /s/ Michael H. Kaliner
                                                     Michael H. Kaliner, Esq. PA 28747
                                                     Orlans PC
                                                     Attorney for Teachers Federal Credit Union
                                                     200 Eagle Road, Bldg 2, Suite 120
                                                     Wayne, PA 19087
                                                     (484) 367-4191
                                                     Email: mkaliner@orlans.com
                                                     File Number: 24-002955




                                22nd
               AND NOW, this ________     day of May, 2024, it is hereby ORDERED that
     this Stipulation Agreement between the parties is hereby approved.



                                                     _____________________________
                                                     Honorable Patricia M. Mayer
                                                     U.S. Bankruptcy Judge
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                                Exhibit B
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